           Case 2:11-cr-00102-MCE Document 52 Filed 04/19/12 Page 1 of 3


 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   MATTHEW M. SCOBLE, Bar# 237432
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
 5   Attorney for Defendant
     HERNAN RAMIREZ-RAMIREZ
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 7
 8                      IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
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11
12   UNITED STATES OF AMERICA,    )      2:11-cr-00102 LKK
                                  )
13                Plaintiff,      )      STIPULATION AND ORDER
                                  )
14           v.                   )      DATE: May 22, 2012
                                  )      TIME: 9:15 a.m.
15   HERNAN RAMIREZ-RAMIREZ,      )      JUDGE: Hon. Lawrence K. Karlton
                                  )
16                Defendant.      )
                                  )
17   ____________________________ )
18
19      It is hereby stipulated and agreed to between the United States of
20   America through MICHAEL ANDERSON, Assistant U.S. Attorney, and
21   defendant, HERNAN RAMIREZ-RAMIREZ, by and through his counsel, MATTHEW
22   M. SCOBLE, Assistant Federal Defender, that the status conference set
23   for Tuesday, April 24, 2012, be continued to Tuesday, May 22, 2012, at
24   9:15 a.m.
25      The reason for this continuance is to allow defense counsel
26   additional time to review discovery with the defendants, to examine
27   possible defenses and to continue investigating the facts of the case.
28      It is further stipulated that the time period from the date of this
           Case 2:11-cr-00102-MCE Document 52 Filed 04/19/12 Page 2 of 3


 1   stipulation, through and including the date of the new status
 2   conference hearing, May 22, 2012, shall be excluded from computation of
 3   time within which the trial of this matter must be commenced under the
 4   Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161 (h)(7)(A) & (B)(iv)and
 5   Local Code T4 [reasonable time for defense counsel to prepare].
 6
 7   DATED: April 19, 2012                Respectfully submitted,
 8                                        DANIEL J. BRODERICK
                                          Federal Defender
 9
                                          /s/ Matthew M. Scoble
10                                        MATTHEW M. SCOBLE
                                          Assistant Federal Defender
11                                        Attorney for Defendant
                                          HERNAN RAMIREZ-RAMIREZ
12
13
     DATED: April 19, 2012                BENJAMIN B. WAGNER
14                                        United States Attorney
15                                        /s/ Matthew M. Scoble for
                                          MICHAEL ANDERSON
16                                        Assistant U.S. Attorney
                                          Attorney for Plaintiff
17
18
19                                  O R D E R
20      Based on the stipulation of the parties and good cause appearing
21   therefrom, the Court hereby adopts the stipulation of the parties in
22   its entirety as its order.     It is hereby ordered that the presently set
23   April 24, 2012, status conference shall be continued to May 22, 2012,
24   at 9:15 a.m.   It is further ordered that the time period from the date
25   of the parties' stipulation, through and including the date of the new
26   status conference hearing, May 22, 2012, shall be excluded from
27   computation of time within which the trial of this matter must be
28   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161


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           Case 2:11-cr-00102-MCE Document 52 Filed 04/19/12 Page 3 of 3


 1   (h)(7)(A) & (B)(iv) and Local Code T4 [reasonable time for defense
 2   counsel to prepare].
 3      Based on the stipulation of the parties and good cause appearing
 4   therefrom, the Court hereby finds that the failure to grant a
 5   continuance in this case would deny defense counsel reasonable time for
 6   effective preparation taking into account the exercise of due
 7   diligence.   The Court specifically finds that the ends of justice
 8   served by the granting of such continuance outweigh the interests of
 9   the public and the defendants in a speedy trial.
10      IT IS SO ORDERED.
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     DATED: April 19, 2012
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